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          Exhibit	  T	  
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                                                                  Home      My Network    Jobs   Me




Ram   Bhuma
Founder, Streaming Vectors Inc.
     Streaming Vectors, Inc.
     Arizona State University
Santa Clara, California, United States · Contact info
138 connections
     Message              Follow         More

About
Ram is results oriented, creative, and has in-depth understanding of Big Data, IoT,
and Cloud based solutions. In his career, Ram managed a broad spectrum of
projects at platform, system and software levels covering many technologies
starting from Personal computers, Network & Telecommunication, to Complex
Web applications, and cloud based Big Data Analytics/IoT platforms.
Ram founded Streaming Vectors in 2012 with a vision to deliver innovative
Activity
solutions to Proactively Monitor & Control IoT devices. Under his supervision,
Streaming   Vectors delivered a comprehensive end to end solution to monitor Set
138 followers
Top Boxes (STB) on customer premises. Machine Learning algorithms are used to
Ram
predicthasn't   posted lately
         STB performance    losses in advance and automated corrective actions are
taken torecent
Ram’s     keepposts
                performance   at optimal
                      and comments    willlevels. This solution
                                           be displayed  here. is first of its kind and
significantly lowers STB customer support costs. Currently developing a
Managed IoT Cloud solution toShow address the needs of Home Automation, and
Industrial Manufacturing sectors. all activity
Prior to Streaming Vectors, Ram was working for Sea Chang International, as a
Experience
Senior Business Consultant. In that role, he accelerated Sea Change efforts to
port its OCAP-RI
          Founder  stack to many STBs based on Intel and Broadcom SoC
architectures.
          Streaming Vectors, Inc.
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Ram founded
         Jul 2012
               Mwedia
                  - Present
                       Inc., to· 10address
                                     yrs 6 mos
                                            the telephony needs of Small & Medium
sized Enterprises (SME).
         Santa Clara, CA Under his guidance, Mwedia, developed and deployed           a
Cloud based VoIP Services Platform to address SME needs in aHome               My Network
                                                                      cost effective        Jobs   Me
manner. Delivered End to End Big Data Analytics Platform for Proactive
         Monitoring of Set-Top-Boxes
         Developed
Prior to Mwedia, RamApache
                       workedSpark      based,Platform
                                   as a Senior  Next Generation,  Big DataatAnalytics
                                                         Design Manager      Intel
         Platform
Corporation. In that role, he delivered multiple reference designs for next
generationDeveloped
            notebookEnd
         Technologies:
                          to End Internet
                      platforms,
                        Splunk,     Apache
                                              of Things
                                     and Network
                                             Spark,
                                                        Platform
                                                    Processor
                                                     Machine
                                                                 for Home
                                                               based        Automation
                                                                     telecommunication
                                                              Learning Algorithms,
platforms.                                                                    …see more
         Containers/Microservices, Raspberry PI
         Senior Business Consultant
         Sea Change International Inc.
         Dec 2008 - Jun 2012 · 3 yrs 7 mos
         Milpitas, CA
         Technical Program Management of OCAP-RI stack porting to Set-Top-
         Boxes
         Responsibilities include: Customer Interface, & Business Development.
         Founder
         Mwedia, Inc.
         2003 - 2008 · 5 yrs
         Santa Clara, CA
         Developed & deployed a cloud based “VoIP Services Platform” to
         address Telephony requirements of SMEs.
         Senior Platform Design Manager
         Intel Corporation
         Oct 1993 - Feb 2003 · 9 yrs 5 mos
         Santa Clara, CA
         Next Generation Residential Gateway Reference Platform design,
         delivery and customer support & Next Generation Notebook Reference
         Platform design, delivery, and customer support.

         Ram also worked at Dolch Computers, Momenta Corporation and Intel
         Corporations.

Education
         Arizona State University
         Master of Science (MS), Computer Science
         Indian Institute of Technology, Kanpur
         Master's degree, Electrical Engineering
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Skills                                                     Home   My Network   Jobs   Me
Java
    1 endorsement

JavaScript
Software Development
                                Show all 10 skills

Languages
English
Hindi
Telugu

Interests
Companies         Schools
          Apex Systems
          1,044,278 followers
               Follow
          ACME Technologies Inc.
          3,034 followers
               Follow
                            Show all 57 companies

Causes
Environment • Health • Politics • Science and Technology
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                                                                                                USOO632.4606B1

(12) United States Patent                                                        (10) Patent No.:              US 6,324,606 B1
        Lenehan et al.                                                           (45) Date of Patent:                  Nov. 27, 2001

(54) APPARATUS AND METHOD FOR                                                                  OTHER PUBLICATIONS
         CONNECTING ACOMPUTER TO A
         DOCKING STATION WIAA CABLE                                           Institute of Electrical and Electronics Engineers, Inc. IEEE
                                                                              Standard for Scalable Coherent Interface (SCI)-IEEE STD
(75) Inventors: Daniel J. Lenehan, Los Altos, Ram                             1596–1992 Aug. 2, 1993 pp: 1-249.
                Bhuma, San Jose, both of CA (US)                              Institute of Electrical and Electronics Engineers, Inc. IEEE
                                                                              Standard for Low-Voltage Differential Signals (LVDS) for
(73) Assignee: Intel Corporation, Santa Clara, CA                             Scalable Coherent Interface (SCI)-IEEE STD
                (US)                                                          1596.3–1996 Jul. 31, 1996 pp: 1-30.
                                                                              Institute of Electrical and Electronics Engineers, Inc. IEEE
(*) Notice: Subject to any disclaimer, the term of this                       Standard for High-Brandwidth Memory Interface Based on
                patent is extended or adjusted under 35                       Scalable Coherent Interface Signaling Technology-IEEE
                U.S.C. 154(b) by 0 days.                                      STD 1596–1996 Sep. 15, 1996 pp: 1-90.
                                                                              Institute of Electrical and Electronics Engineers, Inc. IEEE
(21) Appl. No.: 09/281,254                                                    Standard for Shared Data Formats Optimized for Scalable
                                                                              Coherent Interface Processors-IEEE STD 1596.5-1993
(22) Filed:       Mar. 30, 1999
                                                                              Apr. 25, 1994 pp: 1-81.
(51) Int. Cl. ............................................... G06F 13/00
(52) U.S. Cl. ..................                      710/101; 361/679        * cited by examiner
(58) Field of Search ..................................... 710/100-104;       Primary Examiner Sumati Lefkowitz
                                                          361/679-686
                                                                              (74) Attorney, Agent, or Firm-Blakely, Sokoloff, Taylor &
(56)                       References Cited                                   Zafman LLP
                   U.S. PATENT DOCUMENTS                                      (57)                   ABSTRACT
       5,157,769 * 10/1992 Eppley et al. ....................... 709/253      A cable for coupling a portable computer to a docking
       5,504,864 * 4/1996 Berg ..............                ... 709/253      Station is disclosed. The cable comprises a first end for
       5,619,659 * 4/1997 Kikinis et al.                       ... 710/101    coupling the cable to the docking Station and a Second end
       5,689,402 * 11/1997 Ralston, Jr. ...........           ... 361/686     for coupling the cable to the portable computer. The cable
       5,878,211 * 3/1999 Delagrange et al. ................ 713/200          also includes a lock that locks the Second end to the portable
       5,889,964   3/1999 Cho et al..                                         computer until unlocked by a predetermined Sequence.
       5,982,614 11/1999 Reid ..................................... 361/686
       6,029.215 * 2/2000 Watts, Jr. et al......                ... 710/101
       6,105,096   8/2000 Martinelli et al. ................... 710/129                     15 Claims, 4 Drawing Sheets




                   PORTABLE                                                                                             DOCKING
                   COMPUTER                                                                                             STATION
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                                                  (x.eu),PA?
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                                                     NOISAETL
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                                                    US 6,324,606 B1
                              1                                                                    2
          APPARATUS AND METHOD FOR                                   Second end to couple to a portable computer System. The
         CONNECTING ACOMPUTER TO A                                   docking cable has a plurality of lines to communicate low
         DOCKING STATION WIAA CABLE                                  Voltage differential Signals between the portable computer
                                                                     System and the docking Station. The docking cable also
               FIELD OF THE INVENTION                                includes a locking mechanism controllable by Software
                                                                     executing on the portable computer System. The locking
   The invention relates to docking computers, and more              mechanism Selectively locks the portable computer System
Specifically, to a cable interconnection between a computer          to the docking cable.
and a docking Station.
                                                                       In an alternative embodiment, a network access device
                                                                1O has a network interface to access the network, an output
         BACKGROUND OF THE INVENTION
                                                                   interface to provide output signals to a display device, and
   To decrease the weight and power requirements of por a port to receive a docking cable. The docking cable has a
table computers, resources that are used infrequently or have plurality of lines to communicate low Voltage differential
relatively large power requirements are often not included in Signals between the network acceSS device and an external
the portable computer case. These resources remain in a 15 device. The docking cable further includes a locking mecha
docking Station that is typically left at a user's desk or other nism controllable by Software executing on the network
location where they may be used. For example, network acceSS device. The locking mechanism Selectively locks the
interface circuitry is not used when a portable computer is network acceSS device to the external device.
used away from a home or office, So network interface
circuitry is not required for a portable computer to be                   BRIEF DESCRIPTION OF THE DRAWINGS
functional; however network interface circuitry is often used
when the portable computer is used in a home or office wayTheofinvention             is illustrated by way of example, and not by
                                                                             limitation, in the figures of the accompanying
environment.
                                                                   drawings and in which like reference numerals refer to
   Other devices, such as CD drives, may be used so Similar elements and in which:
infrequently when operating under battery power that the        25
user prefers a lighter portable computer without the device apparatus FIG. 1 is one embodiment of a block diagram of an
                                                                              for docking a portable computer with a docking
may also be left out of the portable computer. ReSources that Station according
are not included in the portable computer case, but which are                          to the present invention.
utilized by the computer user, may be housed in a docking             FIG. 2  is one  embodiment     of a low-voltage differential
Station that is designed to be connected to the portable Signal (LVDS) interface according to the present invention.
computer when portability is not necessary.                           FIG. 3 is a hysteresis diagram for one embodiment of
   Typical docking Stations include a mechanical attachment receivers according to the present invention.
device. The portable computer is actually attached into the           FIG. 4 is one embodiment of an upgradable Internet
docking Station and must be detached by the docking Station 35 appliance with an upgrade connected via a cable according
before the portable computer is portable. This often results to the present invention.
in docking Stations that are custom designed to fit with the
case of a particular portable computer. A new docking                               DETAILED DESCRIPTION
Station must be designed each time a computer manufacturer            A computer-docking Station interface is described. In the
changes the case of its portable computers, which increases 40 following description, for the purposes of explanation,
the cost of docking Stations and Slows the progreSS of numerous Specific details are Set forth in order to provide a
portable computers.                                                thorough understanding of the present invention. It will be
   Another concern with respect to docking Stations is that apparent, however, to one skilled in the art that the invention
the docking Station may limit the effectiveness of the cooling may be practiced without these specific details. In other
elements employed by the portable computer. For example, 45 instances, well-known Structures and devices are shown in
cooling vents are typically located at the back of the portable block diagram form in order to avoid obscuring the present
computer and when the portable computer is attached into invention.
the docking Station, the docking Station often limits the flow        Reference in the specification to “one embodiment” or
of air to the cooling vents, which reduces the effectiveness “an embodiment’ means that a particular feature, Structure,
of the cooling elements. This may restrict the circuitry, 50 or characteristic described in connection with the embodi
particularly the choice of processors, available for use in the ment is included in at least one embodiment of the invention.
portable computer.                                                 The appearances of the phrase “in one embodiment' in
   Furthermore, typical docking Stations consume desk various places in the Specification are not necessarily all
Space, which may be limited to the point of requiring that a referring to the same embodiment.
user use a Small portable computer at his or her desk. 55 Generally, the computer docking Station interface com
Because a docking Station may take as much or more desk prises a cable that couples a portable computer with a
Space as a desktop computer System, a docking Station may docking Station that provides access to resources for use
not be feasible for Some portable computer users, whereas a with the portable computer. In the invention, the cable is
docking Station that may be placed beneath or beside a desk capable of transmitting data at a high bandwidth over
may be more attractive to these users. Therefore, it would be 60 multiplexed lines, Such that the pin count of the cable is
desirable to provide an improved docking Solution.                 reduced from that of a non-multiplexed cable. The cable also
             SUMMARY OF THE INVENTION
                                                                   comprises a locking mechanism controlled by Software that
                                                                   prevents the cable from being removed prior to the time
   A portable computer docking Solution including a dock when the Software prepares the portable computer for Sepa
ing cable is described. In one embodiment, the docking 65 ration from the docking Station.
cable has a first end coupled to a docking Station having             FIG. 1 is one embodiment a block diagram of an appa
devices to be used by a portable computer System and a ratus for docking a portable computer with a docking Station
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according to the present invention. Generally, portable com       lines. Thus, both portable computer 100 and docking station
puter 100 is coupled to docking station 150 via cable 120.        150 include both drivers and receivers. For simplicity, lock
Cable 120 also includes lock 130 that locks cable 120 to          130 is not shown in FIG. 2.
portable computer 100.                                               Low Voltage differential Signal embodiments provide Sev
  Portable computer 100 may be any portable (e.g.,                eral advantages over Single-ended transmission Schemes.
notebook, laptop) computer that a user may wish to couple         For example, low voltage swings (<400 mV in one
to a docking station. Portable computer 100 has an interface embodiment) provide for very high-speed Switching and low
compatible with cable 120. According to one embodiment, power dissipation. Differential signals reduce the area
portable computer 100 and cable 120 have a 30 pin con between the Signal and return paths and cancel electromag
nection interface; however, other configurations may also be
used. By having a Standard interface which is common to netic          fields through use of equal and opposite current flow.
                                                                Further,  differential signals are relatively immune to external
many computers, cable 120 may be used to couple many
different computers to docking station 150. Thus, a new noise and produce little noise to interfere with other Signals.
docking Station is not required for each portable computer         The embodiment of FIG. 2 provides a plurality of LVDS
case, as is typically required in the prior art.                drivers  and receivers, whereby data is communicated in a
   Docking station 150 may provide access to any number of 15 Source-synchronous manner. The embodiment is unidirec
devices to which portable computer 100 may be attached. tional because the driver is always at one end of the link and
For example, docking Station 150 may contain containing a the receiver is always at the other end of the link. The drivers
floppy disk drive, a hard disk drive and/or a CD-ROM drive.     are differential because each driver provides two outputs that
Other devices may also be used included in docking Station are equal in magnitude and opposite in sign. The interface is
150. According to one embodiment, cable 120 is perma SourceSynchronous because a clock or other timing Signal is
nently attached to docking station 150; however, cable 120 Sent along with the data to be communicated as if it were
may be coupled using a 30-pin connection or other interface.    another data bit.
   Cable 120 is a high bandwidth multiplexed cable that            Referring to FIG. 2, Portable computer 100 includes a
allows the number of pins to be reduced compared to a 25 plurality of drivers (e.g., 200) and receivers (e.g., 260).
non-multiplexed cable. According to one embodiment, the Similarly, docking station 150 also contains a plurality of
cable is designed according to the Low Voltage Differential drivers (e.g., 250) and receivers (e.g., 210). When docked
Signaling (LVDS) technology as described in IEEE standard via cable 120, the drivers of portable computer 100 are
1596.3-1996 “LVDS for Scalable Coherent Interface (SCI)” coupled corresponding receivers in docking Station 150 and
Published Jul. 31, 1996. According to one LVDS the drivers of docking station 150 are coupled to correspond
embodiment, a 30-pin connection PCI standard bus and ing receivers in portable computer 100. Corresponding
Sideband Signals are propagated over a cable that may be up drivers and receivers are coupled by a pair of lines included
to 25 feet long. However, other multiplexed transmission in cable 120, such as lines 202 and 204 that couple driver
Schemes may also be used.                                       200 to receiver 210. In order to prevent noise reflected by a
   Lock 130 locks cable 120 to portable computer 100 when 35 driver from becoming a differential Signal, the output imped
cable 120 is coupled to portable computer 100. In one ance of the inverting outputs and the non-inverting outputs
embodiment, lock 130 is controlled by the operating system is closely matched.
running on portable computer 100. The operating System             Each receiver contains a terminating resistor that has a
engages lock 130 until the user executes a program through resistance approximately equal to the impedance of the line
the operating System that prepares portable computer 100 for 40 coupling the corresponding driver and receiver. This value is
undocking. To prepare for undocking, the operating System, typically approximately 100 ohms. Also, the ground to
for example, Saves files and Settings as necessary and which each driver and receiver is coupled should be within
communicates to devices and networks that portable com approximately 1 volt of each other.
puter 100 is to be removed from its connection. Other              Because the interface between portable computer 100 and
Software control can also be provided for lock 130.          45 docking Station 150 is Source Synchronous, data transmitted
   In one embodiment, the operating System controls an over cable 120 is sampled and aligned with the clock of the
electromechanical locking device that prevents portable receiving component (e.g., portable computer 100 or dock
computer system 100 from being detached from cable 120. ing station 150). To do this, data that is transmitted over
For example, the operating System can prepare computer cable 120 is sampled in response to the transitions of the
System 100 for undocking (e.g., by Saving files accessed on 50 Signal transmitted on the clock Signal line. According to one
remote storage devices) prior to releasing computer System embodiment, data is Sampled on both the rising and falling
100 form cable 120. In an alternative embodiment, computer edges of the clock signal. Data is then Stored in receiving
system 100 is not physically locked to cable 120, but the latches until accessed by the receiving component.
operating System informs the user when computer System             FIG. 3 is a hysteresis diagram for one embodiment of
100 can be undocked safely.                                  55 receivers according to the present invention. Hysteresis in
   In one embodiment, lock 130 is for compliance with the receivers of the invention prevent undefined input Sig
docking requirements of the operating System running on the nals that occur, for example, due to disconnecting the
portable computer. For example, operating Systems avail receiver inputS or powering down the corresponding driver,
able from MicroSoft Corp. Specify certain requirements of from causing an oscillating output from the receiver.
the docking connection in order to guarantee file integrity. 60 In FIG. 3, V represents a Single-ended output from the
Thus, lock 130 operates in conjunction with the operating receiver. V., and V, represent the low and high input
System of the portable computer to prevent undocking prior differential threshold voltages, respectively. These are the
to the time when the operating System has prepared portable differential input Voltages that cause the output of the
computer 100 and necessary files for decoupling from the receiver transitions to output low and high Voltages, respec
docking Station.                                             65 tively. V(min) and V(max) are the minimum and
   FIG. 2 is one embodiment of a LVDS interface. The            maximum differential input voltages that can be used as
LVDS interface comprises a series of differential signal inputs to the receiver. According to one embodiment, the
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                             S                                                                  6
hysteresis voltage (V=V-V) is 25 mV. The hyS                         5. The docking cable of claim 4 wherein PCI standard bus
teresis Voltage represents the differential Voltage input to the Signals and Sideband Signals are communicated between the
receiver below which the output of the receiver does not portable computer System and the docking Station.
change.                                                              6. An apparatus for coupling a portable computer System
   FIG. 4 is one embodiment of an upgradable Internet           5 to a docking Station, the apparatus comprising:
appliance with an upgrade connected via a cable according            means for providing a low Voltage differential Signal
to the present invention. Internet appliance 400 is connected           connection between the docking Station and the por
to television 410 or other monitor and to Internet 420.                 table computer System, the low voltage differential
Internet appliance 400 provides access to Internet 420 via              Signal connection to provide access to multiple devices
television 410 without requiring a full computer system.                coupled to the docking Station; and
Thus, Internet appliance 400 may provide inexpensive                 means for locking the portable computer System in con
access to Internet 420.                                                 nection with the docking Station, wherein the means for
   Eventually, a user of Internet appliance 400 may wish to             locking is controllable by Software executing on the
upgrade by connecting a larger hard disk, a floppy disk 15              portable computer System.
drive, or other device. These devices may be located in differential 7.  The apparatus of claim 6 wherein the low voltage
Internet appliance upgrade 420, which is coupled to Internet and the docking    Signals between the portable computer System
appliance 400 via cable 120. Cable 120 (including lock 130,                           State are multiplexed.
                                                                     8.  The  apparatus
not shown) is the same cable discussed above. Thus, addi differential Signals provide      of claim 6 wherein the low voltage
tional devices may be connected to Internet appliance 400 between the portable computer           a Source Synchronous interface
without replacing or opening Internet appliance 400.                                                    System and the docking
                                                                  Station.
   In the foregoing Specification, the invention has been            9. The apparatus of claim 6 wherein the docking cable
described with reference to specific embodiments thereof. It comprises a 30-pin connection between the portable com
will, however, be evident that various modifications and          puter System and the docking Station.
changes may be made thereto without departing from the 25 10. The apparatus of claim 9 wherein PCI standard bus
broader Spirit and Scope of the invention. The Specification Signals and Sideband Signals are communicated between the
and drawings are, accordingly, to be regarded in an illus portable computer System and the docking Station.
trative rather than a restrictive Sense.
   What is claimed is:                                               11. A network acceSS device comprising:
   1. A docking cable comprising:                                    a  network interface to access a network, and
   a first end coupled to a docking Station providing acceSS         a  port to receive a docking cable, the docking cable
      to multiple devices to be used by a portable computer             having a plurality of lines to communicate low Voltage
      System;                                                           differential signals between the network access device
                                                                        and multiple external devices through an interface, the
   a Second end to couple to a portable computer System,                docking cable further comprising a locking mechanism
      wherein the docking cable has a plurality of lines to 35          controllable by Software executing on the network
      communicate low Voltage differential Signals between              acceSS device, the locking mechanism to Selectively
      the portable computer System and the docking Station;             lock the network acceSS device to the interface.
     and                                                             12. The network access device of claim 11 wherein the
   a locking mechanism controllable by Software to be low Voltage differential signals between the network acceSS
      executed by the portable computer System, the locking 40 device and the interface are multiplexed.
      mechanism to Selectively lock the portable computer         13. The network access device of claim 11 wherein the
      System to the docking cable.                              low voltage differential Signals provide a Source Synchro
   2. The docking cable of claim 1 wherein the low voltage nous interface between the network acceSS device and the
differential Signals between the portable computer System interface.
and the docking State are multiplexed.                       45   14. The network access device of claim 11 wherein the
   3. The docking cable of claim 1 wherein the low voltage docking cable comprises a 30-pin connection between the
differential Signals provide a Source Synchronous interface network acceSS device and the interface.
between the portable computer System and the docking              15. The network access device of claim 14 wherein PCI
Station.                                                        Standard buS Signals and Sideband Signals are communicated
   4. The docking cable of claim 1 wherein the docking cable 50 between the network acceSS device and the interface.
comprises a 30-pin connection between the portable com
puter System and the docking Station.
